Case 2:24-cv-00603-ES-MAH           Document 31-1     Filed 04/15/24     Page 1 of 35 PageID:
                                            136



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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

 SERGEY BURMIN and KENNETH W.                       No. 24-cv-00603 (ES) (MAH)
 LUKE, Individually and on Behalf of All
 Other Persons Similarly Situated,                  Hon. Esther Salas, U.S.D.J.

                               Plaintiffs,          ORAL ARGUMENT REQUESTED

 v.                                                 Motion Date: May 20, 2024

 E*TRADE SECURITIES LLC and MORGAN
 STANLEY SMITH BARNEY LLC,

                               Defendants.



                       MEMORANDUM OF LAW IN SUPPORT OF
                        DEFENDANTS’ MOTION TO DISMISS
Case 2:24-cv-00603-ES-MAH                          Document 31-1                 Filed 04/15/24               Page 2 of 35 PageID:
                                                           137



                                                   TABLE OF CONTENTS

 PRELIMINARY STATEMENT ................................................................................................ 1
 BACKGROUND .......................................................................................................................... 5
                      A.         Plaintiffs’ Enrollment in E*TRADE’s Sweep Program ....................... 5
                      B.         Plaintiffs’ Enrollment in the E*TRADE from Morgan Stanley
                                 Sweep Program ........................................................................................ 7
                      C.         Plaintiffs’ Allegations............................................................................. 10
 ARGUMENT .............................................................................................................................. 10
           I.         Plaintiffs’ Breach Theory Is Contradicted by the Agreements’ Plain
                      Language............................................................................................................. 12
           II.        The Complaint Fails to Plead That the Sweep Programs’ Rates Were
                      Unreasonable. ..................................................................................................... 16
                      A.         Defendants’ Rates Meet Plaintiffs’ Definition of
                                 Reasonableness. ...................................................................................... 17
                      B.         Plaintiffs’ Comparison to Rates Provided by Distinct Products
                                 and Financial Institutions Is Inappropriate. ....................................... 20
           III.       Plaintiffs Do Not Plead That They Were Injured by E*TRADE’s and
                      MSSB’s Alleged Breaches. .............................................................................. 27
 CONCLUSION .......................................................................................................................... 29




                                                                      ii
Case 2:24-cv-00603-ES-MAH                          Document 31-1                Filed 04/15/24              Page 3 of 35 PageID:
                                                           138



                                                TABLE OF AUTHORITIES
                                                                                                                                 Page(s)
 Cases
 AmBase Corp. v. 111 W. 57th Sponsor LLC,
   148 N.Y.S.3d 61 (N.Y. App. Div. 2021).................................................................................... 31
 Amron v. Morgan Stanley Inv. Advisors Inc.,
   464 F.3d 338 (2d Cir. 2006) ..................................................................................................... 28
 Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ...................................................................................................................11
 Bat Blue Corp. v. Situs Holdings, LLC,
   2016 WL 3030814 (D.N.J. May 26, 2016) ............................................................................... 15
 Bell Atl. Corp. v. Twombly,
   550 U.S. 544 (2007) ...................................................................................................................11
 Brock v. Walton,
   794 F.2d 586 (11th Cir. 1986) .................................................................................................. 30
 Buck v. Hampton Twp. Sch. Dist.,
   452 F.3d 256 (3d Cir. 2006) ........................................................................................................ 5
 Click Corp. of Am. v. Redco Foods, Inc.,
   424 F. Supp. 2d 753 (D.N.J. 2006) ............................................................................................11
 Collins v. Mary Kay, Inc.,
   874 F.3d 176 (3d Cir. 2017) .......................................................................................................11
 Davis v. Washington Univ. St. Louis,
   960 F.3d 478 (8th Cir. 2020) .................................................................................................... 26
 DeBlasio v. Merrill Lynch & Co.,
   2009 WL 2242605 (S.D.N.Y. July 27, 2009) ................................................................ 14, 16, 33
 Divane v. Nw. Univ.,
   953 F.3d 980 (7th Cir. 2020) .................................................................................................... 28
 Dupree v. Prudential Insurance Co. of America,
   2007 WL 2263892 (S.D. Fla. Aug. 7, 2007) ...................................................................... 20, 26
 Fin Assocs., LP v. Hudson Specialty Ins. Co.,
   2016 WL 4414782 (D.N.J. Aug. 18, 2016), aff’d, 741 F. App’x 85 (3d Cir. 2018) ..................11
 Gawrych v. Astoria Fed. Savings & Loan,
   48 N.Y.S.3d 450 (N.Y. App. Div. 2017).................................................................................... 32
 Hassler v. Sovereign Bank,
   374 F. App’x 341 (3d Cir. 2010) ............................................................................................... 16
 Hecker v. Deere & Co.,
   556 F.3d 575 (7th Cir. 2009), abrogated on other grounds by Hughes v. Nw. Univ., 63 F.4th
   615 (7th Cir. 2023).............................................................................................................. 21, 28


                                                                     iii
Case 2:24-cv-00603-ES-MAH                        Document 31-1               Filed 04/15/24             Page 4 of 35 PageID:
                                                         139



 In re Honda Am. Mfg., Inc. Erisa Fees Litig.,
    661 F. Supp. 2d 861 (S.D. Ohio 2009) ..................................................................................... 21
 Horn v. McQueen,
   353 F. Supp. 2d 785 (W.D. Ky. 2004) ....................................................................................... 20
 HV Assoc., LLC v. PNC Bank, N.A.,
  2019 WL 13410676 (D.N.J. May 20, 2019) ............................................................................. 17
 Leber v. Citigroup, Inc.,
   2010 WL 935442 (S.D.N.Y. Mar. 16, 2010) ............................................................................. 22
 Lukacs v. Purvi Padia Design LLC,
   2022 WL 2116868 (D.N.J. June 13, 2022) ............................................................................... 12
 N.J. Second Amend. Soc’y v. N.J. Press Ass’n.,
   2021 WL 4822050 (D.N.J. Oct. 15, 2021) ................................................................................ 19
 Nat’l Mkt. Share, Inc. v. Sterling Nat’l Bank,
   392 F.3d 520 (2d Cir. 2004) ..................................................................................................... 31
 Negrete v. Citibank, N.A.,
   187 F. Supp. 3d 454 (S.D.N.Y. 2016) ....................................................................................... 13
 Parker Waichman LLP v. Squier, Knapp & Dunn Commc’ns, Inc.,
   28 N.Y.S.3d 603 (N.Y. App. Div. 2016).................................................................................... 31
 Redmond v. Ace Am. Ins. Co.,
   614 F. App’x 77 (3d Cir. 2015) .................................................................................................11
 In re Simpson,
    61 B.R. 580 (Bankr. W.D.N.Y. 1986) ...................................................................................... 30
 Tibble v. Edison Int’l,
   729 F.3d 1110 (9th Cir. 2013) vacated on other grounds, 135 S. Ct. 1823 (2015). ................. 26
 Valelly v. Merrill Lynch, Pierce, Fenner & Smith Inc.,
   2021 WL 240737 (S.D.N.Y. Jan. 25, 2021) ........................................................................ 23, 30
 Valelly v. Merrill Lynch, Pierce, Fenner & Smith Inc.,
   2023 WL 2918982 (S.D.N.Y. Apr. 12, 2023) .............................................................. 24, 27, 30
 Valelly v. Merrill Lynch, Pierce, Fenner & Smith Inc.,
   2023 WL 4239073 (S.D.N.Y. June 28, 2023) .............................................................. 23, 24, 27
 Valelly v. Merrill Lynch, Pierce, Fenner & Smith Inc.,
   464 F. Supp. 3d 634 (S.D.N.Y. 2020) ...................................................................................... 24
 Valentine v. Midland Funding, LLC,
   2020 WL 7074352 (D.N.J. Dec. 3, 2020) ................................................................................... 5
 Wade Park Land Holdings, LLC v. Kalikow,
   589 F. Supp. 3d 335 (S.D.N.Y. 2022) ....................................................................................... 15
 Welch v. TD Ameritrade Holding Corp.,
  2009 WL 2356131 (S.D.N.Y. July 27, 2009) ........................................................................... 32


                                                                  iv
Case 2:24-cv-00603-ES-MAH                           Document 31-1                 Filed 04/15/24               Page 5 of 35 PageID:
                                                            140



 Statutes
 26 U.S.C. § 4975(c)(1)(B) .............................................................................................................. 7
 26 U.S.C. § 4975(d)(4) ............................................................................................................. 7, 15
 26 U.S.C. § 4975(e)(2) .................................................................................................................... 7
 29 U.S.C. § 1002(18)(B) ............................................................................................................... 18
 29 U.S.C. § 1108(b)(8) ................................................................................................................. 18
 29 U.S.C. § 1108 ........................................................................................................................... 18
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   9, 2019);
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  available at https://www.nyse.com/publicdocs/nyse/markets/nyse/rule-interpretations/
  2005/05-11.pdf .......................................................................................................................... 22
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   Investors Unparalleled Value (Aug. 7, 2019),
   https://www.fidelity.com/bin-public/060_www_fidelity_com/documents/press-release/fidelity-
   breaks-status-quo-080719.pdf................................................................................................... 24
 Regulations
 26 C.F.R. § 54.4975-6(b) ................................................................................................................ 7
 29 C.F.R. pt. 2550 ......................................................................................................................... 19
 68 Fed. Reg. 34646, 34648 (June 10, 2003) ................................................................................. 20
 81 Fed. Reg. 21002, 21031 (Apr. 8, 2016) ................................................................................... 19




                                                                       v
Case 2:24-cv-00603-ES-MAH            Document 31-1        Filed 04/15/24      Page 6 of 35 PageID:
                                             141



        Defendants E*TRADE Securities LLC (“E*TRADE”) and Morgan Stanley Smith Barney

 LLC (“MSSB”) (collectively, “Defendants”) respectfully submit this memorandum of law in

 support of their motion to dismiss the complaint (ECF. No. 1) filed by Kenneth Luke and Sergey

 Burmin (“Plaintiffs”) under Rule 12(b)(6) of the Federal Rules of Civil Procedure.

                                  PRELIMINARY STATEMENT

        This case is a baseless attempt to obtain inflated interest payments by rewriting the terms

 of contracts to which Plaintiffs agreed long ago, but now seek to disavow. Plaintiffs argue that

 MSSB and E*TRADE did not provide a reasonable rate of interest on uninvested cash swept

 from their individual retirement accounts (“IRAs”) to affiliated banks. Rather than compare

 E*TRADE’s and MSSB’s rates to similar products with materially similar features, however, the

 Complaint alleges unreasonableness by comparing the returns to financial products with different

 risks, features, and purposes.

        The Complaint fails for the simple reason that E*TRADE’s and MSSB’s cash sweep

 programs were not obligated as a matter of law or contract to “match” interest rates offered by

 other, different products. To the contrary, the agreements Plaintiffs signed expressly informed

 them that the rates paid on the cash sweep programs may not be as high as rates available

 through other products, including many of the products Plaintiffs now rely on as a basis for their

 claim. It would give Plaintiffs a windfall to retrospectively award them interest payments that

 were available through alternative financial products that Plaintiffs opted not to use when they

 had the opportunity to do so.

        IRA holders, like any brokerage customer, may have some uninvested cash in their

 accounts, whether because they are still deciding how to invest it or because they are preparing

 to take a distribution from the account. As an alternative to having uninvested cash sit idle,

 earning no interest, brokerage firms may offer customers the choice of using a “sweep” feature
Case 2:24-cv-00603-ES-MAH            Document 31-1        Filed 04/15/24      Page 7 of 35 PageID:
                                             142



 that automatically sweeps this uninvested cash into an account that provides Federal Deposit

 Insurance Corporation (“FDIC”) protection and interest payments until the customer decides to

 allocate the cash to a different investment. The sweep feature is not intended as a long-term cash

 investment strategy. Unlike other kinds of holdings, such as a savings account or a money

 market mutual fund, this cash is available for immediate investment without restriction or delay.

 Quick access to the cash and FDIC protection are key features of the sweep programs that

 E*TRADE and MSSB offered to self-directed retirement account customers (the “Sweep

 Programs”).

         Plaintiffs chose to take advantage of the Sweep Programs rather than leaving their

 uninvested cash in their brokerage accounts (or placing the cash in an investment, or with a

 different IRA provider). Customers who chose to participate in the Sweep Programs were

 provided with the applicable interest rates on a real-time basis. Importantly, in the governing

 agreements, they acknowledged that the rates provided may be lower than the rates offered

 through other investment alternatives and/or providers, and they accepted the responsibility to

 compare the rates offered through the Sweep Programs to the rates available through those

 alternatives.

         Now, years later, Plaintiffs allege that what they contractually agreed could happen has,

 in fact, happened: Namely, that rates offered through the Sweep Programs have, at times, been

 lower than rates on other, cherry-picked financial products that Plaintiffs inaccurately claim are

 analogous (such as a savings account and a money market fund). Plaintiffs attempt to twist these

 allegations into a breach of contract claim, contending that in providing lower interest rates than

 non-analogous products, Defendants violated a provision of their agreements they believe

 entitled them to a higher rate. Plaintiffs’ claim should be dismissed for multiple reasons.



                                                  2
Case 2:24-cv-00603-ES-MAH            Document 31-1         Filed 04/15/24      Page 8 of 35 PageID:
                                             143



        First, Plaintiffs’ theory—that the rates paid through the Sweep Programs violated the

 governing contracts because they were lower than the rates of certain other products—squarely

 contravenes the disclosures and terms in the agreements Plaintiffs executed. Plaintiffs agreed at

 the outset that the Sweep Programs’ rates could be lower than other products—including the

 alternative products and providers that Plaintiffs now cite as purported comparators. The rates

 for the Sweep Programs were publicly disclosed, as provided in the agreements, and were

 included on Plaintiffs’ account statements each month. To the extent Plaintiffs were interested in

 maximizing returns on their uninvested cash, they contractually accepted the responsibility to

 compare the disclosed rates to other market alternatives, which could offer different rates but

 also different features. Plaintiffs apparently preferred the mix of liquidity, safety, and other

 features of the Sweep Programs over a higher interest rate.

        The agreements’ reference to a “reasonable rate of interest” relates specifically to Internal

 Revenue Code (“IRC”) exemptions that apply to tax-advantaged accounts like these. That

 provision unsurprisingly makes no mention of any of the products Plaintiffs now claim are

 comparators, and inclusion of these products as a basis for assessing reasonableness would be

 completely inconsistent with the sections of the agreement expressly stating that rates offered by

 alternative products could be higher. Plaintiffs should not be permitted to retrospectively reject

 the rates they contractually accepted.

        Second, Plaintiffs do not adequately plead that the market-tested interest rates they

 actually received were not “reasonable.” The Sweep Programs’ interest rates have continuously

 passed Plaintiffs’ own measure of reasonableness—market testing—because they were accepted

 through arm’s length transactions and on an ongoing basis by accountholders who were free to

 move their cash to other investments or other IRA providers.



                                                   3
Case 2:24-cv-00603-ES-MAH            Document 31-1        Filed 04/15/24      Page 9 of 35 PageID:
                                             144



        Plaintiffs’ approach is also inconsistent with the law. Courts consistently recognize that,

 as a matter of law, reasonableness cannot be established by comparing rates across dissimilar

 products, and yet Plaintiffs rely on comparisons to products that are unequivocally dissimilar

 from the Sweep Programs. Plaintiffs also use misleading and incomplete data when comparing

 the Sweep Programs’ rates to other firms’ sweep rates, precluding any basis for concluding that

 the Sweep Programs’ rates were outside the range of reasonableness. None of these comparisons

 plausibly supports the conclusion that E*TRADE’s and MSSB’s rates were unreasonable, and

 the comparisons could not in any event overcome the fact that the rates pass Plaintiffs’ own

 market test.

        Last, Plaintiffs fail to plead that any alleged breaches by Defendants have caused harm to

 Plaintiffs. Participation in the Sweep Programs provided Plaintiffs with interest and FDIC

 insurance that they would not have otherwise received if they let their uninvested cash sit idly in

 their brokerage accounts. To the extent they were seeking higher returns, Plaintiffs at all times

 had the ability to move their uninvested cash to other options entailing greater risks and/or

 different features, such as stocks, certificates of deposit, money market funds or bonds that

 provided higher yields and lower liquidity. Plaintiffs chose to maintain their cash in the Sweep

 Programs, with their concomitant liquidity and risk benefits. The returns Plaintiffs experienced

 were the result of that choice, not any breach by Defendants.

        For all of these reasons, the Court should dismiss the Complaint with prejudice.




                                                  4
Case 2:24-cv-00603-ES-MAH           Document 31-1         Filed 04/15/24      Page 10 of 35 PageID:
                                             145



                                         BACKGROUND 1

        A.      Plaintiffs’ Enrollment in E*TRADE’s Sweep Program

        In August 2018, Mr. Burmin opened a self-directed Roth IRA at E*TRADE. (Compl.

 ¶ 28.) In January 2010, Mr. Luke opened a Rollover IRA at E*TRADE. (Id. ¶ 31.) Plaintiffs

 explicitly allege that when they opened these self-directed IRAs, each agreed to be bound by the

 Retirement Sweep Deposit Program Customer Agreement (the “RSDA”). (Id. ¶ 2.) Pursuant to

 the RSDA, Plaintiffs consented to “having the uninvested cash balances in [their IRAs] each day

 automatically deposited into accounts” at two of E*TRADE’s affiliated banks, E*TRADE Bank

 and E*TRADE Savings Bank (the “E*TRADE Program Banks”). (Ex. A (RSDA) §§ 1–32.) 2

 The Sweep Program offered Plaintiffs immediate liquidity and access to their swept cash,

 providing that, on request, “[E*TRADE] will liquidate [Plaintiffs’] RSDA cash balances, either

 by transferring the balances to [Plaintiffs’] linked Retirement Account[s] or . . . by remitting the

 remaining balance to [Plaintiffs].” (Id. § 10.) The RSDA explained that the E*TRADE Program

 Banks were depository institutions insured by the FDIC, which would provide insurance

 coverage up to $250,000 in swept cash at each E*TRADE Program Bank in the event that an




 1
   The Complaint (ECF No. 1) is referred to as “Compl.” For purposes of this Motion to Dismiss,
 Defendants assume, without conceding, that the factual allegations in the Complaint are true.
 Unless otherwise indicated, all emphasis is added to, and internal quotation marks omitted from,
 quoted passages.
 2
   “[I]t is well-established law that, under the Rule 12(b)(6) standard, a court may consider an
 undisputedly authentic document that a defendant attaches as an exhibit to a motion to dismiss if
 the plaintiff’s claims are based on the document.” Valentine v. Midland Funding, LLC, 2020 WL
 7074352, at *3 (D.N.J. Dec. 3, 2020) (emphasis removed); see also Buck v. Hampton Twp. Sch.
 Dist., 452 F.3d 256, 260 (3d Cir. 2006) (“In evaluating a motion to dismiss, we may consider
 documents that are attached to or submitted with the complaint, and any matters incorporated by
 reference or integral to the claim.”). The Complaint cites as the governing agreements those
 listed as exhibits (“Ex.”) to the Declaration of Meaghan VerGow in Support of Defendants’
 Motion to Dismiss the Complaint.
                                                   5
Case 2:24-cv-00603-ES-MAH           Document 31-1        Filed 04/15/24      Page 11 of 35 PageID:
                                             146



 E*TRADE Program Bank failed. (Id. § 7.) Plaintiffs could withdraw their consent to participate

 in the RSDA Sweep Program at any time. (Id. § 11.)

        The RSDA contained a discrete section, plainly titled “Interest,” specifically addressing

 the terms on which Plaintiffs would receive interest on their swept balances. (Id. § 8; Compl.

 ¶¶ 30, 32.) That section disclosed that the interest rate or “Annual Percentage Yield” applicable

 to Plaintiffs’ swept balances would not only be stated on Plaintiffs’ account statements but was

 also available in real-time “24 hours a day, seven days a week” through the E*TRADE website

 and E*TRADE’s customer service line. (RSDA § 8.) Plaintiffs acknowledged that, “[t]he

 interest rate I earn on my RSDA Program deposits may be higher or lower than the rates

 available to depositors making non-RSDA Program deposits with [the E*TRADE Program

 Banks] directly, through other types of accounts at [E*TRADE], with other depository

 institutions in comparable accounts, with money market mutual funds, or with alternative short-

 term investment options.” (Id.) Plaintiffs further acknowledged that it was incumbent on them

 to compare the disclosed interest rates as well as the RSDA’s other terms with other available

 alternatives. (Id. (“I understand that I should compare the terms, rates of return, required

 minimum amounts, charges, and other features of the RSDA Program with other accounts and

 investment alternatives.”).) 3 Thus, to the extent that Plaintiffs were interested in maximizing the

 interest earned on their free cash balances, the RSDA made clear that it was incumbent on them

 to do so.




 3
   The fact that interest rates could be lower than rates of other types of investments was also
 disclosed, and acknowledged by Plaintiffs, in an earlier section of the RSDA titled “Introduction
 to the RSDA Program.” (RSDA § 2 (“I understand that I may receive a lower rate of return on
 these funds than on other types of investments, but that those other types of investments may not
 offer FDIC deposit insurance.”).)
                                                  6
Case 2:24-cv-00603-ES-MAH             Document 31-1          Filed 04/15/24       Page 12 of 35 PageID:
                                               147



          Completely separate from the “Interest” section, the RSDA contained a section titled,

 “Regarding Qualified Plans and Individual Retirement Accounts,” which stated, “I authorize

 such RSDA Program deposits and understand that each Program Bank will pay a reasonable rate

 of interest, as contemplated by ERISA Section 408(b)(4) and the regulations under [IRC] Section

 4975(d)(4).” (Id. § 17.) This disclosure language relates to an exception to ERISA’s “prohibited

 transactions” rules that (among other things) permits broker-dealers to sweep cash to affiliated

 banks.

          Specifically, certain tax exemptions are unavailable for “prohibited transactions,”

 including “lending money or other extension of credit” between an IRA and “a person providing

 services to the plan,” unless a prohibited transaction exemption applies. See 26 U.S.C.

 §§ 4975(c)(1)(B), (e)(2). Section 4975(d)(4) provides such an exemption for transactions in

 which an affiliate invests “all or part of a plan’s assets in deposits which bear a reasonable

 interest rate in a bank.” Id. § 4975(d)(4); see also 26 CFR § 54.4975-6(b) (“Section 4975(d)(4)

 exempts from excise taxes by section 4975 investment of all or part of a plan’s assets in deposits

 bearing a reasonable rate of interest.”). This section of the RSDA satisfies the regulation’s

 customer disclosure requirement such that the customer can qualify for tax exempt treatment on

 sweep transactions. See 26 CFR § 54.4975-6(b) (“[I]n the case of a bank . . . that invests plan

 assets in deposits in . . . its affiliates under an authorization contained in a plan . . . such

 authorization must . . . state that such bank . . . may make investments in deposits which bear a

 reasonable rate of interest.”). The RSDA’s authorization makes no reference to the rates of

 products now cited by Plaintiffs as purported comparators.

          B.     Plaintiffs’ Enrollment in the E*TRADE from Morgan Stanley Sweep Program

          On October 2, 2020, MSSB’s corporate parent acquired E*TRADE. (Compl. ¶ 4.) In

 January 2022, E*TRADE revised the RSDA to reflect that Morgan Stanley Bank, N.A. and
                                                     7
Case 2:24-cv-00603-ES-MAH          Document 31-1        Filed 04/15/24     Page 13 of 35 PageID:
                                            148



 Morgan Stanley Private Bank, N.A. would replace the E*TRADE Program Banks for

 E*TRADE’s Sweep Program (the “MS Program Banks,” and together with the E*TRADE

 Program Banks, the “Program Banks”). (See Ex. B (RSDA Program Customer Agreement

 Effective January 2022 or “Revised RSDA”).) 4 On or about September 1, 2023, E*TRADE

 began transferring its accounts, assets, and obligations to MSSB. (Compl. ¶ 39.) E*TRADE

 informed customers that “new Morgan Stanley retirement account documents will govern, not

 those of E*TRADE,” and customers of the RSDA would have their balances transferred to the

 Bank Deposit Program, or “BDP,” a Sweep Program offered through “E*TRADE from Morgan

 Stanley.” (Id.) As of approximately October 2023, BDP replaced RSDA as the default sweep

 program available to retirement accounts at E*TRADE. (Id. ¶ 6.)

        To enroll in BDP, Plaintiffs agreed to the terms of the Morgan Stanley BDP Disclosure

 Statement (the “BDP Disclosure”), as well as one of the three different disclosure statements

 based on specific account type (collectively, the “IRA Disclosures”). 5 (Id. ¶ 7.) The IRA

 Disclosures specified that the brokerage account components of the IRAs (including the Sweep

 Program) were governed by the E*TRADE from Morgan Stanley Client Agreement for Self-




 4
   The Revised RSDA otherwise contained substantially similar terms to the RSDA.
 5
   The IRA Disclosures comprise the Morgan Stanley Individual Retirement Plan and E*TRADE
 from Morgan Stanley Traditional IRA Disclosure Statement (the “Traditional IRA Disclosure”),
 the Morgan Stanley Roth IRA and E*TRADE from Morgan Stanley Roth IRA Disclosure
 Statement (the “Roth IRA Disclosure”), and the Morgan Stanley SIMPLE IRA Plan and
 E*TRADE from Morgan Stanley SIMPLE IRA Disclosure Statement (the “Simple IRA
 Disclosure”). (Compl. ¶ 7; Ex. C (Traditional IRA Disclosure); Ex. D (Roth IRA Disclosure);
 Ex. E (Simple IRA Disclosure).) Plaintiffs do not allege which of the IRA Disclosures they each
 signed, but they allege that holders of a Rollover IRA (like Mr. Luke) “are required to consent
 to” the Traditional IRA Disclosure and that holders of a Roth IRA (like Mr. Burmin) “are
 required to consent” to the Roth IRA Disclosure. (Compl. ¶ 40.) Plaintiffs allege that all
 retirement account holders were required to consent to one of the three disclosures. (Id. ¶¶ 7,
 23.)


                                                 8
Case 2:24-cv-00603-ES-MAH           Document 31-1         Filed 04/15/24      Page 14 of 35 PageID:
                                             149



 Directed Accounts (the “SDA Agreement”), to which Plaintiffs also agreed. (IRA Disclosures

 § XII.)

           Through the SDA Agreement and BDP Disclosure, Plaintiffs agreed that cash balances in

 their IRAs would be “automatically deposited into” deposit accounts at the MS Program Banks

 (MSSB’s affiliates) up to a certain threshold, and thereafter to other Morgan Stanley affiliated

 banks. 6 (Ex. F (BDP Disclosure) at 4; Ex. G (SDA Agreement) § 7.) The SDA Agreement

 explained that cash swept from IRAs would be insured by the FDIC. (SDA Agreement § 7.)

 Customers of the BDP could take advantage of immediate liquidity and cash management

 features like check writing and debit cards. (Id. § 6.) Plaintiffs could “at any time close [their]

 Self-Directed Account(s) by giving Morgan Stanley notice.” (Id. § 19.)

           Like the RSDA, the SDA Agreement and BDP Disclosure specifically addressed the

 terms on which Plaintiffs would receive interest on their swept balances. The SDA Agreement

 contained a section titled “Payment of Interest on Free Credit Balances” which disclosed that the

 interest rate applicable to Plaintiffs’ swept balances would still be found at etrade.com/rates. (Id.

 § 7.A.) The BDP Disclosure similarly contained a section titled “Interest on the Deposit

 Accounts,” in which Plaintiffs again agreed that interest “may be higher or lower than the

 interest available on other deposit accounts offered by a Sweep Bank or on deposit accounts

 offered by other depository institutions,” and again acknowledged that they “should compare the

 terms, interest rates, required minimum amounts and other features of the Deposit Accounts with

 other deposit accounts and alternative investments.” (BDP Disclosure at 7.) Plaintiffs agreed

 that MSSB was “under no legal or regulatory requirement to maximize” interest rates. (Id. at




 6
  Balances in IRA accounts above $20 million were swept into a money market mutual fund.
 (BDP Disclosure at 2.)
                                                   9
Case 2:24-cv-00603-ES-MAH           Document 31-1        Filed 04/15/24      Page 15 of 35 PageID:
                                             150



 10.) In fact, the BDP Disclosure expressly contrasted the sweep accounts with “money market

 funds,” which “have a fiduciary duty to seek to maximize their yield to investors, consistent with

 their disclosed investment and risk-management policies and regulatory constraints.” (Id.)

        Each of the IRA Disclosures separately contained a provision titled “Cash Balances”

 through which Plaintiffs authorized the sweep of their IRA funds, and like the RSDA, included a

 “reasonable rate of interest” reference. (IRA Disclosures § 3.3.) Similar to the RSDA, the

 reasonableness reference was tied to the IRC exemption language discussed above and made no

 reference to any of the products now identified by Plaintiffs as a basis for determining or

 assessing reasonableness. (Id. (Plaintiffs “authorize[] the deposit or investment of cash balances

 . . . [in] deposit accounts with Morgan Stanley Bank, N.A., and or any other banking affiliate of

 [MSSB] that bear a reasonable rate of interest.”).)

        C.      Plaintiffs’ Allegations

        On February 1, 2024, Plaintiffs filed this putative class action on behalf of persons or

 entities who maintained retirement accounts with E*TRADE or E*TRADE from Morgan

 Stanley since February 1, 2018. (Compl. ¶¶ 124–25.) Despite agreeing to the interest rate

 provisions contained in the RSDA, Updated RSDA, SDA Agreement, BDP Disclosure, and IRA

 Disclosures (collectively, the “Agreements”), Plaintiffs assert that E*TRADE and MSSB

 violated the Agreements because institutions that offer other financial products with different

 features (e.g., high-yield savings accounts and government money market funds) allegedly

 offered higher rates, rendering Defendants’ rates “unreasonable.” (Id. ¶¶ 1, 9.)

                                           ARGUMENT

        To survive a motion to dismiss under Rule 12(b)(6), a complaint must “raise a right to

 relief above the speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 545 (2007).

 Pleading a plausible claim requires “more than an unadorned, the-defendant-unlawfully-harmed-

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Case 2:24-cv-00603-ES-MAH            Document 31-1         Filed 04/15/24      Page 16 of 35 PageID:
                                              151



 me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (“After Twombly, it is no longer

 sufficient to allege mere elements of a cause of action; instead a complaint must allege facts

 suggestive of the proscribed conduct.”). A breach of contract claim may be dismissed on the

 basis of unambiguous language in the agreements integral to or incorporated into the complaint.

 See Redmond v. Ace Am. Ins. Co., 614 F. App’x 77, 79 (3d Cir. 2015) (applying New York law

 and dismissing breach of contract claim based on a contract’s unambiguous language); Click

 Corp. of Am. v. Redco Foods, Inc., 424 F. Supp. 2d 753, 759‒60 (D.N.J. 2006) (same). 7

        Plaintiffs fail to state a claim for breach of contract for three reasons: First, Plaintiffs’

 theory of breach hinges on a flawed interpretation of the Agreements that cannot be squared with

 their plain language. Second, Plaintiffs fail to allege adequately that Defendants provided

 unreasonable rates under the Agreements’ terms. Third, even if Plaintiffs could plead a breach,

 Plaintiffs cannot allege a compensable injury. For each and all of these independent reasons, the

 contract claim fails as a matter of law. See Lukacs v. Purvi Padia Design LLC, 2022 WL

 2116868, at *2 (D.N.J. June 13, 2022) (to state a claim for breach of contract under New York

 law, a plaintiff must allege: “(1) an agreement, (2) adequate performance by the plaintiff, (3)

 breach by the defendant, and (4) damages”).




 7
   New York law applies to the breach of contract claim under the choice-of-law provisions in the
 Agreements. (See IRA Disclosures § 11.1; SDA Agreement at 1; Compl. ¶ 16.) Fin Assocs., LP
 v. Hudson Specialty Ins. Co., 2016 WL 4414782, at *3 (D.N.J. Aug. 18, 2016) (“New Jersey
 courts generally enforce the choice-of-law . . . clause[] set forth in the applicable contract.”),
 aff’d, 741 F. App’x 85 (3d Cir. 2018); see also Collins v. Mary Kay, Inc., 874 F.3d 176, 183–84
 (3d Cir. 2017) (“New Jersey choice-of-law rules provide that ordinarily, when parties to a
 contract have agreed to be governed by the laws of a particular state, New Jersey courts will
 uphold the contractual choice.”). However, to the extent Plaintiffs claim that Defendants
 breached the SDA Agreement, that claim is governed by the statute of limitations of the state in
 which each Plaintiff resides. (SDA Agreement § 12.)
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Case 2:24-cv-00603-ES-MAH            Document 31-1        Filed 04/15/24      Page 17 of 35 PageID:
                                              152



 I.     Plaintiffs’ Breach Theory Is Contradicted by the Agreements’ Plain Language.

        Plaintiffs’ theory of breach—that the rates they received in the Sweep Programs were

 unreasonable because they were lower than the rates provided on other financial products—is

 fundamentally at odds with the Agreements’ express terms governing interest rates, which

 disclosed that exact possibility. The Agreements contained discrete sections describing the

 parameters of the interest Plaintiffs could reasonably expect and where they could find those

 rates in real-time on E*TRADE’s website. (RSDA § 8; SDA Agreement § 7.A.) The

 Agreements plainly explained that the interest rates were to be determined by E*TRADE or

 MSSB through contracts with the Program Banks and that there were no set criteria that MSSB

 or E*TRADE promised to consider when setting rates.

        Plaintiffs do not allege a breach of any of these express contract terms: Plaintiffs do not

 claim interest was withheld or that rates were undisclosed. In other words, Plaintiffs do not

 identify any breach of the provisions that actually set out Defendants’ requirements for the

 provision of interest. This fundamental flaw in the Complaint requires its dismissal. See Negrete

 v. Citibank, N.A., 187 F. Supp. 3d 454, 468 (S.D.N.Y. 2016) (dismissing breach of contract claim

 for “fail[ure] to plead the essential terms of the alleged agreement between the parties and which

 provisions, if any, were breached”).

        Nor can Plaintiffs identify any term in the Agreements supporting a reasonable

 expectation that the provision of “reasonable interest” entitled them to interest rates similar to the

 products they now cite. Plaintiffs agreed multiple times to conspicuous language stating that the

 rates Plaintiffs would receive could be lower than those offered by alternative financial products,

 including other depository banks and the different types of products they now seek to rely on to

 establish as the standard of reasonableness. (See RSDA § 8 (interest “may be higher or lower

 than the rates available to depositors making non-RSDA Program deposits with Program Banks
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Case 2:24-cv-00603-ES-MAH           Document 31-1         Filed 04/15/24      Page 18 of 35 PageID:
                                             153



 directly, through other types of accounts at [E*TRADE], with other depository institutions in

 comparable accounts, with money market mutual funds, or with alternative short-term

 investment options”); BDP Disclosure at 7 (rates “may be higher or lower than the interest

 available on other deposit accounts offered by a [Program] Bank or on deposit accounts offered

 by other depository institutions”).)

        To the extent that Plaintiffs sought higher rates of return out of their “free cash,” they

 contractually accepted responsibility for comparing the Sweep Programs’ rates to alternatives.

 (RSDA § 8 (“I understand that I should compare the terms, rates of return, required minimum

 amounts, charges, and other features of the RSDA Program with other accounts and investment

 alternatives.”); BDP Disclosure at 7 (stating customers “should compare the terms, interest rates,

 required minimum amounts and other features of the Deposit Accounts with other deposit

 accounts and alternative investments.”).) By the Agreements’ clear terms—and Plaintiffs’

 unambiguous acknowledgement of them—these alternative products cannot now serve as the

 basis for Plaintiffs’ breach of contract claim. See DeBlasio v. Merrill Lynch & Co., 2009 WL

 2242605, at *37 (S.D.N.Y. July 27, 2009) (dismissing contract claim because “Plaintiffs have not

 identified any agreement that could support a reasonable expectation that Defendants were

 obligated to maximize Plaintiffs’ earnings on uninvested funds in their brokerage accounts”).

        Plaintiffs now argue that IRC disclosures in the Agreements (the “Disclosure Provisions”)

 effectively supersede these designated “Interest” sections. (Compl. ¶¶ 33, 40.) 8 Ignoring



 8
   The two Disclosure Provisions on which Plaintiffs rely are (i) RSDA § 17 (authorizing “such
 RSDA Program deposits” and agreeing that Plaintiffs “understand that each Program Bank will
 pay a reasonable rate of interest, as contemplated by ERISA Section 408(b)(4) and the
 regulations under Code Section 4975(d)(4)”) and (ii) IRA Disclosures § 3.3 (authorizing “the
 deposit or investment of cash balances in the Account in . . . deposit accounts with Morgan
 Stanley Bank, N.A. and/or any other banking affiliate of the Custodian that bear a reasonable rate
 of interest”).
                                                  13
Case 2:24-cv-00603-ES-MAH            Document 31-1         Filed 04/15/24      Page 19 of 35 PageID:
                                              154



 entirely the unambiguous “Interest” provisions in which they acknowledged that their rates could

 be lower than alternatives and accepted the responsibility to make that comparison themselves,

 Plaintiffs claim that an entirely separate section of the Agreements in which they authorized the

 use of affiliated bank accounts created a contractual entitlement to rates paid by other institutions

 or in other products. Plaintiffs’ interpretation of the Disclosure Provisions as requiring

 Defendants to provide higher rates is unreasonable for several reasons.

        First, by their plain terms, the Disclosure Provisions make no reference to the rates

 provided by other investment products (as Plaintiffs now suggest), nor do they purport to

 displace the specific agreements between the parties in the Interest section that details what

 interest rates Plaintiffs could and could not expect. The Disclosure Provisions simply mirror

 language in a regulatory requirement that facilitates a tax exemption for these tax-advantaged

 accounts. (See supra at 7.) The Disclosure Provisions do not supersede the Agreements’ specific

 terms that the rates provided by the Program Banks may be lower than other products, and

 cannot be read to entitle Plaintiffs to reject retroactively the contractual parameters of the rates to

 which they agreed.

        Under well-settled contract principles, contracts must be read as a whole so that no

 provisions are rendered meaningless. Bat Blue Corp. v. Situs Holdings, LLC, 2016 WL 3030814,

 at *3 (D.N.J. May 26, 2016) (“[A] contract should be construed so as to give effect to all its

 terms and not to render any of those terms meaningless.”). The current interpretation proffered

 by Plaintiffs seeks to render the entire Interest section of the Agreements meaningless. Plaintiffs

 cannot circumvent the Agreements’ specific and clear contractual disclosures regarding interest

 by relying on a general statement in a separate section of the agreement. Wade Park Land




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Case 2:24-cv-00603-ES-MAH            Document 31-1         Filed 04/15/24      Page 20 of 35 PageID:
                                              155



 Holdings, LLC v. Kalikow, 589 F. Supp. 3d 335, 393 (S.D.N.Y. 2022) (Under New York contract

 law, “[w]here there is tension between provisions, the more specific governs over the general.”).

        In DeBlasio v. Merrill Lynch & Co. the court rejected similar breach of contract

 arguments that were contradicted by the unambiguous terms of contracts governing a sweep

 program. 2009 WL 2242605. There, the plaintiffs claimed that brokerage firms breached

 agreements governing cash swept from customers’ brokerage accounts because the firms

 generated additional profits when they modified their sweep programs to sweep cash to standard

 deposit accounts instead of money market mutual funds. Id. at *1–2. The relevant agreements

 disclosed that customers should “compare the terms, interest rates . . . and other features of the

 [sweep program] with other accounts and alternative investments,” and that the firms were under

 no “obligation to ensure [investment clients] receive any particular rate of interest or to advise

 [clients] to invest . . . cash or bank deposit balances in higher yielding cash alternatives.” Id. at

 *17–18.

        In dismissing the plaintiffs’ breach of contract claim, the DeBlasio court emphasized that

 the plaintiffs had failed to “point to any provision of an agreement that could plausibly give rise

 to an expectation on their part that Defendants were somehow subject to a limitation on the

 amount of profits that they were allowed to make in connection with the Cash Sweep Programs.”

 Id. at *37. The court further held that the plaintiffs did not identify “any agreement that could

 support a reasonable expectation that Defendants were obligated to maximize Plaintiffs’ earnings

 on uninvested funds in their brokerage accounts.” Id. (emphasis removed). Plaintiffs’ claim

 should be dismissed for the exact same reasons. 9



 9
   More generally, courts routinely hold that customers are bound by clear language contained in
 banking agreements. See Hassler v. Sovereign Bank, 374 F. App’x 341, 344 (3d Cir. 2010)
 (affirming dismissal of class action claim under the New Jersey Consumer Fraud Act where
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Case 2:24-cv-00603-ES-MAH           Document 31-1         Filed 04/15/24      Page 21 of 35 PageID:
                                             156



        Second, insofar as Plaintiffs are attempting to claim that Defendants failed to comply

 with IRC § 4975(d)(4) (see Compl. ¶¶ 44–55), that argument fails because Plaintiffs are not

 suing to recover for alleged tax exemption issues, the entire purpose of the sections Plaintiffs rely

 on for their claims. The Disclosure Provisions invoked by Plaintiffs relate solely to the

 establishment and maintenance of tax-exempt status on the transfers to and from Plaintiffs’

 affiliated sweep accounts. Had E*TRADE or Morgan Stanley failed to provide a reasonable

 rate, it might have rendered these transfers taxable—but it would not have entitled Plaintiffs to a

 higher rate of interest. Tellingly, Plaintiffs have not alleged any adverse tax consequences, and

 they do not allege that their accounts have not been tax-qualified throughout the relevant

 period. 10 Accordingly, there is no basis for any legal claims related to any purported violations

 of the Agreements’ Disclosure Provisions.

 II.    The Complaint Fails to Plead That the Sweep Programs’ Rates Were Unreasonable.

        Plaintiffs also do not allege adequate facts to show that the Sweep Programs’ rates were

 “unreasonable” under the Agreements because (i) under Plaintiffs’ own standard of

 reasonableness, Defendants’ rates were reasonable, (ii) Plaintiffs use improper comparators, and

 (iii) Plaintiffs’ data comparing Defendants’ rates to other sweep rates do not reflect that

 Defendants’ rates were unreasonable.




 bank’s account agreement “explicitly provided for the reordering of charges of which [plaintiff]
 complain[ed]” in agreement’s disclosure provisions); HV Assoc., LLC v. PNC Bank, N.A., 2019
 WL 13410676, at *10 (D.N.J. May 20, 2019) (dismissing breach-of-contract claim where bank
 disclosed customer transaction information because “[n]othing in the contractual provisions
 limit[s] who [the bank] may share information with” (cleaned up)).
 10
    Any such argument would be independently precluded by the SDA Agreement, which states
 that “[MSSB] shall not be liable to [Plaintiffs] as a result of any action or inaction taken by
 Morgan Stanley to comply with Applicable Law” and that “the terms of this Self-Directed
 Account Agreement do not create a private right of action.” (SDA Agreement § 3.C.)
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Case 2:24-cv-00603-ES-MAH           Document 31-1        Filed 04/15/24      Page 22 of 35 PageID:
                                             157



        A.      Defendants’ Rates Meet Plaintiffs’ Definition of Reasonableness.

        Plaintiffs claim that while the Agreements do not define “reasonable,” a reasonable rate

 of interest is “the rate that would result in a competitive market under fair market valuation

 conditions, i.e., a rate parties would agree to in an arm’s length transaction where neither party

 was able to exert market power over the other.” (Compl. ¶ 68.) Plaintiffs inappropriately

 suggest there was not an arm’s length transaction here because Defendants were affiliated with

 the banks that provided the Sweeps Programs. (Id. ¶¶ 83–88.) But if Plaintiffs’ test is applied

 correctly, the Sweep Programs’ rates pass it with flying colors: Plaintiffs, together with

 thousands of other customers, made the arm’s length decision to maintain accounts with

 Defendants and to participate in the Sweep Programs in lieu of pursuing other options. As the

 Complaint itself demonstrates, customers affirmatively chose to maintain their IRAs with

 Defendants and to participate in the Sweep Programs, and those arm’s length market transactions

 together establish that Defendants’ offering was reasonable.

        The Complaint itself underscores that the market for brokerage services, including IRA

 accounts, is a competitive one, with investors having a choice among many brokers. (Id. ¶¶ 93,

 99–101.) If an investor was not satisfied with the Sweep Programs, he or she could establish his

 or her IRA with a different broker. 11 If, having elected to invest through E*TRADE and

 participate in the Sweep Programs, an investor ceased to be satisfied with the offered rates, he or

 she could withdraw from the Sweep Programs or E*TRADE altogether. (See RSDA § 11 (“I

 understand that, at any time, I may withdraw my consent to participate in the RSDA Program.”);

 SDA Agreement § 19 (stating customers could “at any time close [their] Self-Directed




 11
   Customers could also freely elect to opt out of participating in the Sweep Programs. (RSDA
 § 11; Revised RSDA § 11; BDP Disclosure at 12.)
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Case 2:24-cv-00603-ES-MAH           Document 31-1         Filed 04/15/24      Page 23 of 35 PageID:
                                             158



 Account(s) by giving Morgan Stanley notice”).) And at all times, a customer could choose to

 invest the uninvested cash.

        In deciding whether to invest with E*TRADE and participate in the Sweep Programs,

 investors had ready access to the rates that would apply to the uninvested cash in their

 accounts—not only through their account statements but on a real-time, 24-hours-a-day, 7-days-

 a-week basis through Defendants’ call center and dedicated website. (RSDA § 8; SDA

 Agreement § 7.A; BDP Disclosure § 11.) Plaintiffs contractually accepted responsibility for

 comparing those rates to other products in the market. (RSDA § 8; BDP Disclosure at 7.) 12 If

 maximizing rates was a customer’s driving concern, over liquidity and safety, the customer could

 simply obtain higher returns by investing their cash in other products. These rates were the

 result of arm’s length transactions in a competitive market where Defendants had no “market

 power” to require IRA investors to accept the disclosed rates or maintain uninvested cash in their

 accounts.

        Courts have recognized that the selection of a product by customers who can vote with

 their feet establishes the reasonableness of the product’s financial terms as a matter of law. For

 example, the court in Dupree v. Prudential Insurance Co. of America held that an insurer’s

 investment of its employee retirement plan’s assets in the insurer’s own pooled accounts

 qualified for an exemption under ERISA § 408(b)(8)—which requires that the compensation




 12
    Customers could compare other firms’ rates to Defendants’ rates by accessing publicly
 available rates published on other firms’ websites. See, e.g.,
 https://digital.fidelity.com/prgw/digital/fdic-interest-rate/fcma (providing Fidelity’s sweep rates).
 Because Plaintiffs quote from and cite Fidelity’s website in the Complaint (see Compl. ¶ 92
 n.24), they explicitly rely upon Fidelity’s website and it is incorporated by reference and can be
 considered. See N.J. Second Amend. Soc’y v. N.J. Press Ass’n., 2021 WL 4822050, at *5 (D.N.J.
 Oct. 15, 2021) (finding good cause to incorporate by reference and consider defendant’s website
 in ruling on a motion to dismiss where the complaint “quote[d] directly from [the] website”).
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Case 2:24-cv-00603-ES-MAH           Document 31-1        Filed 04/15/24      Page 24 of 35 PageID:
                                             159



 paid through such accounts be “reasonable.” 2007 WL 2263892, at *41 (S.D. Fla. Aug. 7,

 2007); 29 U.S.C. § 1108(b)(8). The court found that other investors’ willingness to invest in the

 same pooled accounts at the same rates was sufficient as a matter of law to establish

 reasonableness for purposes of ERISA § 408. 2007 WL 2263892, at *41. 13

         The rationale of the Dupree court is consistent with the holdings of other courts that

 likewise had to evaluate the reasonableness, as a matter of law, of market-tested terms. See, e.g.,

 Hecker v. Deere & Co., 556 F.3d 575, 586 (7th Cir. 2009) (noting, in dismissing claim that

 defendants caused plan to invest in options with excessive fees, that, “[i]mportantly, all of these

 funds were also offered to investors in the general public, and so the expense ratios necessarily

 were set against the backdrop of market competition”), abrogated on other grounds by Hughes v.

 Nw. Univ., 63 F.4th 615 (7th Cir. 2023); see also In re Honda Am. Mfg., Inc. Erisa Fees Litig.,

 661 F. Supp. 2d 861, 867 (S.D. Ohio 2009) (same); Best Interest Contract Exemption, 81 Fed.

 Reg. 21002, 21031 (Apr. 8, 2016) (to be codified at 29 C.F.R. pt. 2550) (explaining that an

 ERISA exemption is available when “the Best Interest standard is satisfied and the compensation

 is reasonable” and “[u]ltimately, the ‘reasonable compensation’ standard is a market based

 standard”). 14



 13
    See also Horn v. McQueen, 353 F. Supp. 2d 785, 807 (W.D. Ky. 2004) (explaining that
 regulations proposed by the Secretary of Labor concerning the term “fair market value,” which is
 used in 29 U.S.C. § 1002(18)(B)’s definition of “adequate consideration” for purposes of
 ERISA’s prohibited transactions exemption scheme, defines “‘fair market value’ . . . as the price
 at which an asset would change hands between a willing buyer and a willing seller when the
 former is not under any compulsion to buy and the latter is not under any compulsion to sell, and
 both parties are able, as well as willing, to trade and are well-informed about the asset and the
 market for that asset”).
 14
    Defendants’ rates likewise meet Plaintiffs’ alternative definition of reasonableness taken from
 Department of Labor (“DOL”) guidance. Plaintiffs claim that an individual exemption under
 § 408(b)(4) from a “prohibited transaction” issued by the DOL to Deutsche Bank AG in 2003
 supports that a definition of reasonableness “took into account a broad range” of products.
 (Compl. ¶¶ 72–74 (citing Prohibited Transaction Exemption 2003-11, 68 Fed. Reg. 34646, 34648
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Case 2:24-cv-00603-ES-MAH           Document 31-1         Filed 04/15/24      Page 25 of 35 PageID:
                                             160



        By Plaintiffs’ own telling, thousands of IRA investors in a competitive market chose to

 take advantage of Defendants’ brokerage and sweep services, instead of maintaining their

 accounts elsewhere or placing their cash elsewhere. According to Plaintiffs’ own market test,

 then, the rates enjoyed by participants in the Sweep Programs were reasonable as a matter of law,

 both for purposes of their Agreements and for purposes of the prohibited transaction exemption

 that facilitates their tax-qualified accounts. See Leber v. Citigroup, Inc. 2010 WL 935442

 (S.D.N.Y. Mar. 16, 2010). (recognizing market-tested terms in context of affiliated mutual fund

 investments).

        B.       Plaintiffs’ Comparison to Rates Provided by Distinct Products and Financial
                 Institutions Is Inappropriate.

        Plaintiffs’ claim independently fails because the Complaint offers no allegations that

 overcome the conclusion that the Sweep Programs’ market-tested rates are reasonable. The

 Complaint attempts to make that showing by comparing Defendants’ rates to three categories of

 rates which Plaintiffs claim demonstrate unreasonableness: (i) rates paid on money market

 funds; (ii) sweep rates provided by other brokerage firms, such as Fidelity Investments and RW

 Baird; and (iii) the rate paid on Morgan Stanley’s Premium Savings Account. (Compl. ¶¶ 83–

 123.) But each of those comparators is inapt for a number of reasons.

        As an initial matter, to the extent that a comparison to other offerings is appropriate at all,

 the comparison must be to products with materially similar features, including risk, access to the

 cash, and fees or other conditions of participation. Plaintiffs make no such comparison, and



 (June 10, 2003).) Defendants do not concede that this guidance provides a relevant standard for
 measuring whether Defendants complied with their contractual obligations concerning the
 provision of interest. But even assuming Plaintiffs are correct for the purposes of this motion,
 Plaintiffs conveniently omit that this exemption further clarified that “[t]he requirement that an
 interest rate be ‘reasonable’ does not preclude the payment of no interest” under certain
 circumstances. 68 Fed. Reg. at 34648.
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Case 2:24-cv-00603-ES-MAH            Document 31-1        Filed 04/15/24      Page 26 of 35 PageID:
                                              161



 instead identify as their purported barometer of reasonableness a hodge-podge of investment

 products, all of which allegedly paid a higher rate of interest than the Sweep Programs’ rates for

 some period of time.

        Plaintiffs’ “round peg, square hole” approach is not new and has been rejected as a matter

 of law. In Valelly v. Merrill Lynch, Pierce, Fenner & Smith Inc., the court repeatedly rejected

 arguments that rates provided by money market mutual funds and other investment vehicles

 Plaintiffs cite could serve as a basis for assessing the reasonableness of the rates offered by a

 sweep program. 2023 WL 4239073 (S.D.N.Y. June 28, 2023). The Valelly court explained that

 a plaintiff “cannot use the interest rate paid on one type of investment vehicle to prove that the

 interest rate paid on a different type of investment vehicle is not reasonable.” Id. at *4. 15 Here,

 all of Plaintiffs’ comparators are distinct from Defendants’ bank sweep vehicle, and thus none of

 Plaintiffs’ comparisons supports the conclusion that the rates Plaintiffs actually enjoyed were

 unreasonable.

        Money Market Funds. Plaintiffs cannot allege that money market funds are an

 appropriate comparator because they are fundamentally different from the deposit accounts

 offered through Defendants’ Sweep Programs. Unlike deposit accounts, which are FDIC-insured

 and offer immediate liquidity, money market mutual funds are not FDIC-insured and lack

 immediate access to funds. Further, the cash in deposit accounts is typically used by banks to

 make loans, whereas (as Plaintiffs acknowledge (Compl. ¶ 105)) at least 99.5% of the cash in a



 15
   Although the plaintiff in Valelly was granted leave to file an amended pleading which Merrill
 Lynch did not move to dismiss, the contract claim that proceeded is extremely narrow. Valelly v.
 Merrill Lynch, Pierce, Fenner & Smith Inc., 2021 WL 240737, at *2 (S.D.N.Y. Jan. 25, 2021).
 In particular, the Valelly court has continued to underscore that the “mere fact that [Merrill
 Lynch’s] rate was below the average rate does not provide that the rate was not ‘reasonable,’”
 and has rejected plaintiffs’ attempts to compare Merrill Lynch’s rates to different products. Id. at
 *2, n.1; see also Valelly, 2023 WL 4239073, at *4.
                                                  21
Case 2:24-cv-00603-ES-MAH           Document 31-1        Filed 04/15/24      Page 27 of 35 PageID:
                                             162



 government money market fund must be invested in short-term government securities. See

 Valelly v. Merrill Lynch, Pierce, Fenner & Smith Inc., 2023 WL 2918982, at *8 (S.D.N.Y. Apr.

 12, 2023) (observing the different nature of the products and noting that banks use customer

 cash, such as that in money market deposit accounts “subject to [their] capital requirements, to

 make loans” whereas most funds in a government money market fund “must be invested in

 government securities or repurchase agreements,” which impacts the interest rate paid).

        The plaintiff in Valelly, who is represented by the same counsel as Plaintiffs here,

 similarly argued that money market mutual funds represented an appropriate comparator for

 assessing the reasonableness of sweep rates. See Valelly v. Merrill Lynch, Pierce, Fenner &

 Smith Inc., 464 F. Supp. 3d 634, 644–45 (S.D.N.Y. 2020). In rejecting this argument, the Valelly

 court emphasized that there is no basis for comparing money market funds to sweep deposit

 accounts because they are two fundamentally different products. Id. In doing so, the court noted

 that the availability of FDIC insurance for money market deposit accounts is a crucial distinction

 between the two different vehicles. 16 2023 WL 4239073, at *4‒5. There is no basis, legal or



 16
    Plaintiffs’ own sources for their allegations emphasize this key difference between money
 market mutual funds and money market deposit accounts, and that disclosures of such
 differences are required. (Compl. ¶¶ 118, 122 n.40 (citing NYSE Information Memorandum 05-
 11 (2005), available at https://www.nyse.com/publicdocs/nyse/markets/nyse/rule-interpretations/
 2005/05-11.pdf (“Member organizations comparing the risk of loss in an FDIC insured account
 to the risk of loss of an investment in a money market mutual fund for which SIPC protection is
 or is not available should be certain that their descriptions are accurate and not misleading.”)).);
 see also David Armstrong, Fidelity Highlights Benefits of Default Cash Options for Retail
 Accounts, Wealth Management (Aug. 7, 2019),
 https://www.wealthmanagement.com/investment/fidelity-highlights-benefits-default-cash-
 options-retail-accounts (last visited Mar. 9, 2024) (“To be sure, money market funds don’t have
 the same protections that bank sweep [deposit] accounts do. They aren’t insured by the Federal
 Deposit Insurance Corporation, and returns are not guaranteed.”); Daren Fonda, Fidelity Is
 Giving Customers Higher Rates on Cash. Here’s Why., Barron’s (Aug. 9, 2019);
 https://www.barrons.com/articles/fidelity-sweep-accounts-cash-rates-federal-reserve-schwab-
 merrill-lynch-vanguard-etrade-51565291732 (last visited Mar. 9, 2024).)


                                                 22
Case 2:24-cv-00603-ES-MAH           Document 31-1           Filed 04/15/24   Page 28 of 35 PageID:
                                             163



 otherwise, to consider money market mutual funds as a benchmark for determining the

 reasonableness of interest rate payments for a bank sweep deposit account.

        Morgan Stanley’s Premium Savings Account. Plaintiffs’ comparison to the rates paid

 on Morgan Stanley’s Premium Savings Account is similarly improper because Plaintiffs fail to

 allege that this investment option has any of the characteristics typical of sweep accounts—such

 as unrestricted liquidity—to substantiate that the factors determining rates of interest would be

 alike. (Compl. ¶¶ 102–06.) On the contrary, a savings account typically has features like

 withdrawal limits that promote the deposits’ stability, which in turn helps support higher interest

 payments at the expense of the client’s liquidity needs.

        Other Sweep Programs. Plaintiffs do not adequately allege that the other sweep

 programs they cite as comparators have materially similar features to the Sweep Programs such

 that they would be apt comparators for the purpose of assessing reasonableness. (Compl. ¶¶ 83–

 106.) There are no alleged facts, for example, regarding: (i) whether the cited comparators have

 the same degree of access to funds as the Sweep Programs; (ii) whether and to what extent FDIC

 insurance was provided; and (iii) the presence or absence of fees and other conditions relating to

 the accounts. Plaintiffs make no effort to address any crucial differences among the programs

 and how those features would reasonably affect interest rates.

        The failure to plead material similarities between the proposed comparators and the

 Sweep Programs is fatal to Plaintiffs’ claim because other products can include costs, risks,

 limits on liquidity or accessibility to swept cash, and other differences that render them inapt

 comparators to the Sweep Programs. See, e.g., Davis v. Washington Univ. St. Louis, 960 F.3d

 478, 485 (8th Cir. 2020) (“Comparing apples and oranges is not a way to show that one is worse

 than the other”); Dupree v. Prudential Ins. Co. of Am., 2007 WL 2263892, at *12, *37 (S.D. Fla.



                                                  23
Case 2:24-cv-00603-ES-MAH             Document 31-1       Filed 04/15/24      Page 29 of 35 PageID:
                                               164



 Aug. 7, 2007) (in the ERISA context, finding plan fiduciaries “diligently carried out their

 responsibilities to monitor and review plan . . . performance” where they “compared Plan

 investments to performance records of other investments following the same investment style”);

 cf. Tibble v. Edison Int’l, 729 F.3d 1110, 1113 (9th Cir. 2013) (rejecting effort to compare

 mutual fund expenses to costs of institutional investments as “apples-to-oranges” comparison in

 light of material distinctions in investment features), vacated on other grounds, 135 S. Ct. 1823

 (2015).

           Indeed, Plaintiffs’ own allegations demonstrate the fundamentally different nature of the

 sweep programs they offer as comparators. For example, the Complaint cites sweep programs

 offered by Fidelity and Vanguard—investment vehicles that the Plaintiffs acknowledge swept

 cash to money market mutual funds during part of the class period. (Compl. ¶¶ 112, 122.) As

 the Valelly court recognized, money market mutual funds do not provide FDIC insurance and

 have distinct liquidity features that render them an inappropriate comparator. See 2023 WL

 4239073, at *4‒5; 2023 WL 2918982, at *8 n.22. The Fidelity press release that Plaintiffs tout

 (Compl. ¶ 92 n.24) itself acknowledges that an “[i]mportant difference” between a money market

 fund and the bank sweep programs offered by Defendants and others is that “bank sweep

 products”—but not the Fidelity alternative—“have FDIC protection, which guarantees principal

 and interest[.]” Press Release, Fidelity Investments, Fidelity Investments Takes Another Strong

 Step to Provide Investors Unparalleled Value (Aug. 7, 2019), https://www.fidelity.com/bin-

 public/060_www_fidelity_com/documents/press-release/fidelity-breaks-status-quo-080719.pdf.

           Moreover, the Fidelity press release expressly acknowledges that the rate offered (1.91%)

 was “contrary to typical industry practices,” citing Schwab’s rate at 0.18% and TD Ameritrade’s

 rate of 0.04%. Id. Thus, according to Fidelity itself, its rate was an outlier and not consistent



                                                   24
Case 2:24-cv-00603-ES-MAH           Document 31-1         Filed 04/15/24      Page 30 of 35 PageID:
                                             165



 with industry standards. Courts have repeatedly declined to find unreasonable rates based on a

 comparison to outliers. See, e.g., Divane v. Nw. Univ., 953 F.3d 980, 989 (7th Cir. 2020) (“That

 plaintiffs prefer low-cost index funds . . . does not make [an active fund’s] inclusion in the plans

 a fiduciary breach.”); Hecker v. Deere & Co., 556 F.3d 575, 586 (7th Cir. 2009) (“[N]othing in

 ERISA requires every fiduciary to scour the market to find and offer the cheapest possible fund

 (which might, of course, be plagued by other problems).”), abrogated on other grounds by

 Hughes v. Nw. Univ., 63 F.4th 615 (7th Cir. 2023); Amron v. Morgan Stanley Inv. Advisors Inc.,

 464 F.3d 338, 345–46 (2d Cir. 2006) (“That a mutual fund has an expense ratio higher than

 Vanguard, a firm known for its emphasis on keeping costs low, raises little suspicion.”).

        Even assuming that Plaintiffs are correct that a comparison to other, dissimilar sweep

 programs is relevant to their Agreements with Defendants, Plaintiffs’ comparisons improperly

 rely on incomplete data that do not support the inference that the Sweep Programs’ rates were

 unreasonable. Plaintiffs broadly assert that “even when measured against other brokerages,

 E*TRADE consistently found itself at the bottom when compared to its peers” (Compl. ¶ 97),

 but provide only abbreviated glimpses into the rates in place over the relevant period, with

 purported examples from “2018 and into 2019” (without further specificity), as of March 29,

 2019, and from July 29, 2022, through January 30, 2024. (Id. ¶¶ 11, 12, 60.) This makes it

 impossible to compare Defendants’ sweep rates to any of the purported comparators’ rates

 during the periods Plaintiffs have omitted from their allegations, including a period of more than

 three years from April 2019 through July 2022.

        Plaintiffs’ allegations of competitors’ sweep rates also do not track the same time periods

 for which Plaintiffs provide Defendants’ alleged sweep rates, making it difficult to assess if,

 when, and how they diverged. For example, although Plaintiffs allege Fidelity’s “FDIC-insured



                                                  25
Case 2:24-cv-00603-ES-MAH           Document 31-1         Filed 04/15/24      Page 31 of 35 PageID:
                                             166



 sweep rate and R.W. Baird’s sweep rates have been at all times since March 2022 substantially

 higher than the rates paid by E*TRADE and E*TRADE by Morgan Stanley,” Plaintiffs offer no

 concrete allegations or data regarding either institution’s sweep rates prior to this timeframe,

 which encompasses most of the class period. (Id. ¶ 101.) Instead, Plaintiffs’ only specific

 allegations regarding Fidelity’s data—that at the end of 2022, “Fidelity paid 2.21% interest on

 cash balances regardless of tier” (id. ¶ 90), beginning in August 2023, Fidelity “paid as much as

 2.72% APY on swept cash regardless of AUM” (id. ¶ 13), and “as of January 12, 2024, Fidelity

 paid 2.69% interest on cash balances regardless of tier” (id. ¶ 91)—are limited to December 2022

 through January 2024 and do not clarify whether Fidelity provided this rate for its money market

 mutual fund sweep rate (Fidelity’s default option) or for its FDIC-insured sweep vehicle.

 Plaintiffs’ specific allegations as to R.W. Baird’s sweep rates are similarly limited to December

 2022, September 8, 2023, and January 12, 2024. (Id. ¶¶ 13, 90, 91.) Likewise, Plaintiffs only

 allege Robinhood’s sweep rates as of August 11, 2022 and July 27, 2023, but not prior or

 subsequent to these dates. (Id. ¶ 100.) And as to Interactive Brokers, WeBull and Vanguard, the

 proffered data for their sweep interest rates lack dates altogether—making it impossible to

 compare their rates to those of E*TRADE. (Id.)

        It is insufficient as a matter of law to allege that a rate is unreasonable based even on a

 comparison to prevailing market rates, much less incomplete, cherrypicked ones. Courts have

 held that “a reasonable rate may be different from the prevailing or market rate” and that

 evidence of prevailing or market rates alone are “insufficient” to show non-compliance with a

 reasonable rate requirement. Brock v. Walton, 794 F.2d 586, 588 (11th Cir. 1986); see also In re

 Simpson, 61 B.R. 580, 582 (Bankr. W.D.N.Y. 1986) (finding interest rates “at the low end of the

 spectrum . . . cannot be deemed to be unreasonable”). Even if these alleged comparators’ data



                                                  26
Case 2:24-cv-00603-ES-MAH            Document 31-1         Filed 04/15/24       Page 32 of 35 PageID:
                                              167



 represented an appropriate benchmark (they do not), Plaintiffs’ piecemeal “analysis” does not

 support the inference that the Sweep Programs’ rates were unreasonable.

                                                  ***

         In sum, Plaintiffs’ proposed comparators were either explicitly rejected in Valelly or fail

 under the reasoning of Valelly and other courts. The Valelly court has repeatedly reiterated that

 dissimilar financial products are improper benchmarks because the factors that determine the

 interest rates paid on one product are different from factors determining interest rates on different

 products, and it “is not surprising then, that at the end of the day, the resulting interest rates paid

 diverge.” 2023 WL 2918982, at *8; see also Valelly v. Merrill Lynch, Pierce, Fenner & Smith

 Inc., 2021 WL 240737, at *2 (S.D.N.Y. Jan. 25, 2021) (emphasizing that, as the court “held in its

 prior opinion, comparisons to interest rates paid on [distinct] investment products. . . are

 irrelevant to whether the rate paid on [p]laintiff’s money market deposit account was

 reasonable”). Plaintiffs simply ignore these holdings and the economic reality that different

 financial products, and different sweep programs, entail different tradeoffs and risk profiles, all

 of which affect the rate of interest that a firm is willing to provide, and what a customer is

 willing to accept.

 III.    Plaintiffs Do Not Plead That They Were Injured by E*TRADE’s and MSSB’s Alleged
         Breaches.

         Plaintiffs also cannot plead a fundamental element of a breach of contract claim: that

 they were injured by the alleged breach. See Parker Waichman LLP v. Squier, Knapp & Dunn

 Commc’ns, Inc., 28 N.Y.S.3d 603, 603 (N.Y. App. Div. 2016) (affirming lower court’s dismissal

 of plaintiff’s breach of contract claim where complaint failed to allege how purported breach

 caused any harm to plaintiff); see also AmBase Corp. v. 111 W. 57th Sponsor LLC, 148 N.Y.S.3d

 61, 62–63 (N.Y. App. Div. 2021) (affirming dismissal of breach of contract claim because


                                                   27
Case 2:24-cv-00603-ES-MAH            Document 31-1         Filed 04/15/24      Page 33 of 35 PageID:
                                              168



 complaint “does not allege any resulting damages, and therefore fails to state a cause of action

 for breach of contract”).

        “Because a plaintiff may recover only for damages that are directly and proximately

 caused by a defendant’s breach of contract, causation is an element—and a crucial one—of the

 plaintiff’s prima facie case.” Nat’l Mkt. Share, Inc. v. Sterling Nat’l Bank, 392 F.3d 520, 526 (2d

 Cir. 2004). The interest rates that Plaintiffs actually received through the Sweep Programs were

 the result of their own investment decisions, not any breach by Defendants. Under the

 Agreements, Plaintiffs could allocate their cash to other investments; Plaintiffs could opt out of

 the Programs; and they could always move the uninvested cash to other tax-qualified accounts.

 Plaintiffs agreed to “assume full responsibility for each and every transaction,” “investment

 strateg[y],” and “decision,” concerning their IRAs, and agreed that “Morgan Stanley has no

 liability whatsoever for the results of [Plaintiffs’] investments strategies, transactions, and

 decisions.” (SDA Agreement § 1.A.) In light of these agreements, Plaintiffs cannot support

 their conclusory claim that they “have been and continue to be injured.” (Compl. ¶ 132.)

 Gawrych v. Astoria Fed. Savings & Loan, 48 N.Y.S.3d 450, 454 (N.Y. App. Div. 2017) (holding

 trial court should have dismissed breach of contract claim “since the complaint only contains

 conclusory allegations of damages resulting from the alleged breaches”).

        This is particularly so since there are no allegations suggesting that Plaintiffs “were in

 any way precluded from” using their uninvested cash balances “to purchase mutual funds,

 stocks, or other investments that would be riskier but potentially more profitable.” Welch v. TD

 Ameritrade Holding Corp., 2009 WL 2356131, at *9 (S.D.N.Y. July 27, 2009). Indeed, the

 Complaint gives this away, alleging that Mr. Burmin “found it necessary to modify his approach




                                                   28
Case 2:24-cv-00603-ES-MAH           Document 31-1        Filed 04/15/24      Page 34 of 35 PageID:
                                             169



 to investing dividends received” and “has been compelled to promptly reinvest the funds.”

 (Compl. ¶¶ 66, 132.)

        This is not evidence of damages—this is precisely what an investor should do with

 uninvested cash when he or she wants the opportunity to generate investment returns. Plaintiffs

 could (and did) pursue actual investments using their cash, and the Sweep Programs gave them

 the ability to access funds without delay, exactly as designed. Welch, 2009 WL 2356131, at *7

 (“[O]ne of the most obvious options available to [sweep customers] [is] investing or withdrawing

 their uninvested free credit balances.”); DeBlasio v. Merrill Lynch & Co., 2009 WL 2242605, at

 *31 (S.D.N.Y. July 27, 2009) (“By definition, free credit balances existed in Plaintiffs’ brokerage

 accounts because Plaintiffs chose not to invest these funds and instead left them idle in their

 accounts.”). In the end, Plaintiffs are seeking rates that would provide a windfall, not the benefit

 of what they bargained for under the Agreements.

                                          CONCLUSION

        For these reasons, the Court should grant Defendants’ motion to dismiss the Complaint

 with prejudice.


  Dated: April 15, 2024
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                                                  29
Case 2:24-cv-00603-ES-MAH   Document 31-1   Filed 04/15/24    Page 35 of 35 PageID:
                                     170



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                                     30
